                          UNITED STATES DISTRICT COURT                              Motion GRANTED.
                   FOR THE MIDDLE DISTRICT COURT OF TENNESSEE                       Hearing reset for
                               NASHVILLE DIVISION                                   11/22/13 at 3:00 p.m.
UNITED STATES OF AMERICA                     )
                                             )
V.                                           )              No. 2:11-00002-25
                                             )
COURTNEY JO RABIDEAU                         )               Judge Trauger
                                             )


                      JOINT MOTION FOR BRIEF CONTINUANCE

       Come now the parties and hereby state to the Court that they have reached a plea

agreement and are moving for a brief continuance of their now plea date from November 19,

2013 at 9:00 a.m., until November 22, 2013, at 3:00 p.m., because of scheduling difficulties.



                                                     Respectfully Submitted,

                                                      /s/ Bob Lynch, Jr._________
                                                     Bob Lynch, Jr. (BPR# 6298)
                                                     Washington Square, Suite 316
                                                     222 Second Avenue North
                                                     Nashville, TN 37201
                                                     615-255-2888
                                                     615-256-5737 facsimile
                                                     Attorney for Defendant Rabideau



                                                     /s/ Blanche Cook__________
                                                     Ms. Blanche Cook
                                                     Assistant United States Attorney
                                                     110 Ninth Avenue South, A-961
                                                     Nashville, TN 37203




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